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 6                            UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
 8
        UNITED STATES OF AMERICA,
 9

10                                 Plaintiff,      }CASE NO. CR 16-824
11                           v.
12      NEON-CHEOL CHI,                               ORDER OF DETENTION
13

14                                 Defendant.
15

16                                                     I.
17          A.()       On motion ofthe Government in a case allegedly involving:
18               1.()    a crime of violence.
19              2.()     an offense with maximum sentence of life imprisonment or death.
20              3.()     a narcotics or controlled substance offense with maximum sentence
21                       often or more years .
22              4.()     any felony -where the defendant has been convicted oftwo or more
23                       prior offenses described above.
24              5.()     any felony that is not otherwise a crime of violence that involves a
25                       minor victim, or possession or use ofa firearm or destructive device
26                       or any other dangerous weapon, or a failure to register under 18
27 ',                    U.S.0 § 2250.
28          B.(~ On motion by the Government /()on Court's own motion, in a case

                              ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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 1                        allegedly involving:
 2            (~ On the further allegation by the Government of:
 3              1. (v~ a serious risk that the defendant will flee.
 4              2.()         a serious risk that the defendant will:
                      a.()obstruct or attempt to obstruct justice.
 C1                   b.()threaten, injure, or intimidate a prospective witness or juror or
 7                           attempt to do so.
 8         C. The Government()is/(~s not entitled to a rebuttable presumption that no
 9              condition or combination ofconditions will reasonably assure the defendant's
10              appearance as required and the safety of any person or the community.
11

12                                                        II.
13         A.(~ The Court finds that no condition or combination of conditions will
14                        reasonably assure:
15              1. (c~ the appearance ofthe defendant as required.
16                    O      and/or
17             2.() the safety of any person or the community.
18        B.() The Court finds that the defendant has not rebutted by sufficient
19                      evidence to the contrary the presumption provided by statute.
20

21                                                       III.
22        The Court has considered:
23         A. the nature and circumstances ofthe offenses)charged,including whether the
24             offense is a crime ofviolence,a Federal crime ofterrorism,or involves a minor
25             victim or a controlled substance, firearm, explosive, or destructive device;
26        B. the weight of evidence against the defendant;
27        C. the history and characteristics ofthe defendant; and
28        D. the nature and seriousness of the danger to any person or to the community.

                                  ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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 1                                                       IV.
 2         The Court also has considered all the evidence adduced at the hearing and the
 3         arguments and/or statements of counsel, and                            the    Pretrial   Services
 4         Report/recommendation.
 5
 6                                                       1~
 71        The Court bases the foregoing findings) on the following:
 8         A.(I~ As to flight risk: '~~~ o                      ~                S2s' I~lo -h~e/J~
 9                    ~     ~.5. j no       ~Lt.rG+,'Q~ ~~L~6~I~n.. c(~f- ~-I-(~l,~i~ -~"l'►~ ',
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~1                    iV~o r rv~.~-h'0-vL_

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16         B. ()          As to danger:
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24                                                       VI.
25         A. ()         The Court finds that a serious risk exists that the defendant will:
26                    1. ()obstruct or attempt to obstruct justice.
27                    2. ()attempt to/ ( )threaten, injure or intimidate a witness or juror.
28

                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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 1       B. The Court bases the foregoing findings) on the following:
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 9                                                  VII.
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11       A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
12       B. IT IS FURTHER ORDERED that the defendant be committed to the
13            custody ofthe Attorney General for confinement in a corrections facility
14            separate, to the extent practicable, from persons awaiting or serving
15            sentences or being held in custody pending appeal.
16       C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
17            opportunity for private consultation with counsel.
18       D. IT IS FURTHER ORDERED that, on order of a Court of the United States
19            or on request of any attorney for the Government,the person in charge of
20           the corrections facility in which the defendant is confined deliver the
21            defendant to a United States marshal for the purpose of an appearance in
22           connection with a court proceeding.
23

24

25

26   DATED: January62017
                                                  HONORABLE A ICIA G. R SENBERG
27                                                UNITED STATES MAGISTRATE JUDGE
28

                             ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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